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NO. 12-CI-00212                                                                       ÆFFERSON CIRCUIT COURT
                                                ,,.-,...
                                                Li!            _ c
                                                                   ,        2: l:S    DIVISION TWELVE (12)
                                                                       "
AMBER NICHOLS                                               \_";. C. ,\ 0                                   PLAITIFF

vs.               NOTiéÎ TO PbANTlfillAN CLERK OF
               JEFFERSON CIRCUIT COURT OF DEFENDANT'S
           APPPLICATION TO REMOVE CAUSE TO FEDERAL COURT
COLLECTION ASSOCIATES, INC. DEFENDANT
                                                           *** *** *** *** ***
TO: Clerk, Jefferson Circuit Court
           Division 12
           700 W. Jefferson Street
           Louisvile, KY 40202

           Scott A. Walitch
           COOPER & FRIEDMAN, PLLC
           1448 Gardiner Lane
           Suite 301-303
           Louisvile, KY 40213

           You are hereby notified that Defendant, Collection Associates, Inc., in the above entitled

cause has on the 9th day of                 February, 2012, has filed with the United States District Court for the

Western District of           Kentucky, Louisvile Division, its Notice to Remove the above entitled cause of

action to said United States District Court, a copy of                         which notice,(without exhibits of State Cour

pleadings) is attached hereto and made a par of this Notice for your information and guidance, all as

provided by law.

                                                                       Respectfully submitted,


                                                                       KIGHTLINGER & GRAY, LLP

                                                                       By:L4vf~William E. Smith, III
                                                                               Attorney for Defendant

120076/15633641

                                                                                             EXHIBIT ,. Â.
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                                                  CERTIFICATE OF SERVICE

           This is to certify that a true copy of the foregoing Notice was mailed to the above-named

Deponent at the above address on the 9th day of             February, 2012.


           Scott A. Walitch
           COOPER & FRIEDMAN, PLLC
           1448 Gardiner Lane
           Suite 301-303
           Louisvile, KY 40213

                                                               ~~?d#g
                                                               Willam E. Smith, III
                                                               Attorney for Defendant



KIGHTLINGER & GRAY, LLP
BY: Wiliam E. Smith, II
Bonterra Building, Suite 200
3620 Blackiston Boulevard
New Albany, IN 47150
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                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF KENTUCKY
                                                   LOUISVILLE DIVISION

AMER NICHOLS,                                                            )
              Plaitiff                                                   )
                                                                         )
v.                                                                       )           CASE   NO.
                                                                         )
COLLECTION ASSOCIATES, INC.,                                             )
     Defendant                                                           )

                                                          NOTICE OF REMOVAL

               Defendant, Collection Associates, Inc., by counsel, Wiliam E. Smith, III, of the law firm

of     Kightlinger & Gray, LLP, pursuant to 28 U.S.C. § 1441 and 28 U.S.c. § 1446, hereby files its

Notice of Removal of this cause to the United States Distrct Cour for the Western District of

Kentucky, Louisville Division, from the Jefferson Circuit Cour, Division 12, Louisvile,

Kentucky, and in support of                      this Motion states:

                1. Defendant is the Defendant in the action now pending in the Jefferson Circuit

                                                                                                                      RemovaL.
Cour, Division 12, Cause No. 12-CI-00212, and Defendant hereby files this Notice of




               2. On January 11, 2012 Plaintiff commenced this cause of action.


                3. The Defendant was not served with this action until on or about January 19,2012.

                4. The cause of action stated in Plaintiffs Complaint is for an alleged violation of

 the Fair Debt Collection Practices Act 15 U.S.C. § Section 1692 et seq ("FDCPA").

                5. Pursuant to 15 U.S.C. § 1692k(d), the District Cour has jurisdiction over causes


 of action under the FDCP A.

                6. Pursuant to 28 U.S.C. § l441(b) civil actions on which the Distrct Cour have

                                                                                                                the United States,
     original jurisdiction that are found on a claim or right arising under the laws of




     are removable without regard to the citizenship or residence of
                                                                                                  the paries.




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                                                                                     EXHIBIT "All
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             7. Attached hereto, made a par hereof, and marked as Exhbit "A" is a copy of the


Defendant's Notice to Plaitiff and Clerk of the Jefferson Circuit Cour, Division 12, of the


Defendant's application to remove cause of action to the U.S. Distrct Cour, which was sent to

the State cour contemporaneously with the filing of                ths Notice of   RemovaL.

             8. Attached hereto, made a par hereof, and marked as Exhbit "B", is a copy of all


other pleadings filed in the Jefferson Circuit Court, Division 12.

             WHREFORE, the Defendant, Collection Associates, Inc., by counsel, files its Notice of

Removal of         ths cause of action from the Jefferson Circuit Court, Division 12, to ths Cour.

                                                                   Respectfully submitted,


                                                                   KIGHTLINGER & GRAY, LLP

                                                                   lsI William E. Smith, III
                                                                   Willam E. Smith, III
                                                                   KIGHTLINGER & GRAY, LLP
                                                                   Bonterra Building, Suite 200
                                                                   3620 Blackiston Boulevard
                                                                   New Albany, IN 47150
                                                                   Phone: (812) 949-2300
                                                                   Fax: (812) 949-8556
                                                                   Email: wsmith@k-glaw.com

                                                      CERTIFICATE OF SERVICE

             I hereby certify that I have served a copy of the foregoing by first class mail, postage
prepaid ths 9th day of       Februar, 2012 to:

             Scott A. Walitch
             COOPER & FRIEDMA, PLLC
             1448 Gardiner Lane
             Suite 301-303
             Louisville, KY 40213
                                                                   lsI William E. Smith, III
                                                                   William E. Smith, II
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